Case 2:19-cv-15962-JXN-LDW Document 526-7 Filed 04/14/22 Page 1 of 3 PageID: 42585




                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY

   CommScope, Inc., CommScope Inc. of ) Civil Action No. 19-cv-15962-JXN-
   North Carolina, and CommScope      ) LDW
   Technologies, LLC,                 )
                                      )
               Plaintiffs,            )
                                      )       [PROPOSED] ORDER
   v.                                 ) GRANTING JOINT MOTION
                                      )      OF ALL PARTIES FOR
   Rosenberger Technology (Kunshan)   ) RECONSIDERATION OF THE
   Co. Ltd., Rosenberger Asia Pacific ) DENIAL OF THE REQUESTED
   Electronic Co., Ltd., Rosenberger  ) EXTENSION BASED ON NEW
   Technology LLC, Rosenberger USA    ) INFORMATION, OR, IN THE
   Corp., Rosenberger North America   ) ALTERNATIVE, TO STAY THE
   Pennsauken, Inc., Rosenberger Site )           LITIGATION
   Solutions, LLC, Rosenberger        )
   Hochfrequenztechnik GmbH & Co.     )
   KG, Northwest Instrument, Inc.,    )
   CellMax Technologies AB,           )
                                      )
               Defendants.            )
                                      )

        This matter is before the Court on the Joint Motion of All Parties for

  Reconsideration of the Denial of the Requested Extension Based on New

  Information, or, in the Alternative, to Stay the Litigation. Having considered the

  briefs and other materials submitted by the parties, the arguments of counsel, and

  all other matters presented to the Court in connection with the joint motion, the

  Court hereby GRANTS the Joint Motion of All Parties for Reconsideration of the

  Denial of the Requested Extension Based on New Information, or, in the

  Alternative, to Stay the Litigation.
Case 2:19-cv-15962-JXN-LDW Document 526-7 Filed 04/14/22 Page 2 of 3 PageID: 42586




        For the reasons stated in the parties’ joint motion, the Court finds good cause

  warrants amending the schedule.

        IT IS HEREBY ORDERED that the Court’s Scheduling Order (ECF No.

  494), as previously amended at ECF No. 515, is amended as follows:

            1. All fact depositions shall be completed on or before October 28, 2022.
               All other fact discovery shall have been completed by the January 31,
               2022 deadline of ECF No. 494.
            2. All affirmative expert reports shall be delivered by December 15,
               2022. Any such report shall comport with the form and content
               requirements of Fed. R. Civ. P. 26(a)(2)(B).
            3. All responding expert reports shall be delivered by February 16, 2023.
               Any such report shall comport with the form and content requirements
               referenced above.
            4. Expert discovery, including the depositions of any expert witnesses,
               shall be completed on or before April 14, 2023.
        The remainder of the scheduling order, as previously amended, is

  unchanged.


        In the alternative, IT IS HEREBY ORDERED that pursuant to Local Civil

  Rule 301.1, this case is stayed for a period of 90 days, with the parties to provide,

  85 days after entry of this order, a joint status report to the Court as to the status of




                                              2
Case 2:19-cv-15962-JXN-LDW Document 526-7 Filed 04/14/22 Page 3 of 3 PageID: 42587




  mediation and as to the status and restrictions associated with Mainland-China-

  based witnesses travelling for depositions.


  DATED: _________________, 2022

                                           Honorable Judge Leda Dunn Wettre
                                            United States Magistrate Judge




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